                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )       No. 15-03051-02-CR-S-MDH
                                                    )
RONDA L. EASTON,                                    )
                                                    )
                          Defendant.                )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One, Three

and Ten contained in the Second Superseding Indictment filed on August 25, 2015, and

Defendant’s admittance of the Forfeiture Allegations Three, Four and Five contained in the

Second Superseding Indictment, are now Accepted. The Defendant is Adjudged Guilty of such

offense. Sentencing will be set by subsequent Order of the Court.




                                                          s/Douglas Harpool
                                                         DOUGLAS HARPOOL
                                                    UNITED STATES DISTRICT JUDGE




Date: July 20, 2016




      Case 6:15-cr-03051-MDH           Document 218       Filed 07/20/16      Page 1 of 1
